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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


TV TOKYO CORPORATION,

       Plaintiff,
                                                    Case No. 24-cv-5117
v.
                                                    Judge
THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A HERETO,

       Defendants.


                                          COMPLAINT

        Plaintiff, TV TOKYO CORPORATION (“Plaintiff” or “TV TOKYO”), by undersigned

 counsel, hereby complains of the Partnerships and Unincorporated Associations identified in

 Schedule A attached hereto (collectively, “Defendants”), and hereby allege as follows:

                                 JURISDICTION AND VENUE

        1.      This Court has original subject matter jurisdiction over the claims in this action

 pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq.; 28 U.S.C. § 1338(a) - (b)

 and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under

 the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are

 so related to the federal claims that they form part of the same case or controversy and derive

 from a common nucleus of operative facts.

        2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

 properly exercise personal jurisdiction over Defendants since each of the Defendants directly
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targets consumers in the United States, including Illinois, through at least the fully interactive

commercial Internet stores operating under the Defendant the Online Marketplace Accounts

identified in Schedule A attached hereto (collectively, the “Defendant Internet Stores”).

Specifically, Defendants are reaching out to do business with Illinois residents by operating one

or more commercial, interactive Internet Stores through which Illinois residents can purchase

products including bearing counterfeit versions of Plaintiff’s NARUTO Trademarks. Each of the

Defendants has targeted sales from Illinois residents by operating online stores that offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and, on

information and belief, has sold products bearing counterfeit versions of Plaintiff’s federally

registered trademarks to residents of Illinois. Each of the Defendants is committing tortious acts

in Illinois, engaging in interstate commerce, and have wrongfully caused Plaintiff substantial

injury in the State of Illinois.

                                         INTRODUCTION

        3.      This action has been filed by Plaintiff to combat e-commerce store operators who

trade upon Plaintiff’s reputation and goodwill by offering for sale and/or selling unauthorized and

unlicensed products using infringing and counterfeit versions of Plaintiff’s federally registered

trademarks (the “Counterfeit Products”).

        4.      Defendants created numerous Internet Stores and designed them to appear to be

selling genuine products licensed by Plaintiff (“Plaintiff’s products”), while selling inferior

imitations of Plaintiff’s products. Defendant Internet Stores share unique identifiers, such as

design elements and similarities of the counterfeit products offered for sale, establishing a logical

relationship between them and suggesting that Defendants’ illegal operations arise out of the same

transaction, occurrence or series of transactions or occurrences. Defendants attempt to avoid



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liability by going to great lengths to conceal both their identities and the full scope and

interworking of their illegal counterfeiting operation. Plaintiff is forced to file this action to

combat Defendants’ counterfeiting of Plaintiff’s registered trademarks as well as to protect

unknowing consumers from purchasing unauthorized products over the Internet. Plaintiff has

been and continues to be irreparably damaged through consumer confusion, dilution, and

tarnishment of its valuable trademarks as a result of Defendants’ actions and seeks injunctive and

monetary relief.

        5.      This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts business in Illinois and in this Judicial District, and the acts and events giving rise to

this lawsuit of which each Defendant stands accused were undertaken in Illinois and in this

Judicial District. In addition, each Defendant has offered to sell and ship infringing products into

this Judicial District.

                                          THE PLAINTIFF

        6.      Plaintiff TV TOKYO is a leading Japanese content producer and broadcaster of

movies, videos and games with particular strength in animation and is headquartered at Roppongi

Grand Tower, 3-2-1 Roppongi, Minato-ku, Tokyo 106-8001 Japan.

        7.      Plaintiff owns rights to and manages the licensing, sale and marketing of Naruto

Products and is in the business of developing, marketing, selling, distributing and licensing

NARUTO branded products. NARUTO is one of the best-selling Japanese manga series in

history, written and illustrated by Masashi Kishimoto. Plaintiff TV TOKYO co-produced and

distributes the NARUTO manga series. Two hundred fifty (250) million copies have been

circulated worldwide in 46 countries and regions. English translations of the NARUTO manga

series have consistently appeared on the USA Today and The New York Times bestseller lists.



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The NARUTO brand of products, distributed and licensed by Plaintiff TV TOKYO, has expanded

beyond the manga series to a variety of other media, including animated television shows, feature

films, novels, comic books, toys and apparel. Plaintiff, through its duly authorized licensees, is

the official source of NARUTO products.

        8.      Plaintiff licenses the use of U.S. Trademark Registration Nos. 3,229,574;

3,280,366 and 3,726,754 for the “NARUTO” word mark in international classes 9, 16, 25, 28 and

41 (collectively, the “NARUTO Trademarks”). Plaintiff is the owner of U.S. Copyright

Registration Nos. PA0002277887, PA0002276002, and PA0002431062 (collectively, the

“NARUTO Copyrights”).

        9.      These Trademark and Copyright registrations are valid, subsisting, and in full

force and effect.   True and correct copies of the federal trademark and copyright registration

certificates are attached hereto as Group Exhibits 1 and 2, respectively.

        10.     The NARUTO Trademarks are distinctive and identify merchandise as goods

from Plaintiff or its duly authorized licensees.

        11.     The NARUTO Trademarks have been continuously used and never abandoned.

         12.    Plaintiff’s NARUTO Trademarks are exclusive to Plaintiff and are displayed

extensively on Plaintiff’s Products and in Plaintiff’s marketing and promotional materials.

Plaintiff’s NARUTO Trademarks have been the subject of substantial and continuous marketing

and promotion by Plaintiff at great expense. In fact, Plaintiff has expended significant resources

annually in advertising, promoting and marketing featuring Plaintiff’s NARUTO Trademarks.

Plaintiff’s promotional efforts include — by way of example, but not limitation — substantial

print media, a website, social media sites and point of sale materials. Because of these and other

factors, Plaintiff’s NARUTO Trademarks have become famous worldwide.



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        13.      Plaintiff’s NARUTO Trademarks are distinctive when applied to Plaintiff’s

products, signifying to the purchaser that the products come from Plaintiff and are manufactured

to Plaintiff’s quality standards. Whether Plaintiff manufactures the products itself or licenses

others to do so, Plaintiff has ensured that products bearing its Trademarks are manufactured to

the highest quality standards. Plaintiff’s NARUTO Trademarks have achieved fame and

recognition, which has only added to the inherent distinctiveness of the marks. As such, the

goodwill associated with Plaintiff’s NARUTO Trademarks is incalculable and of inestimable

value to Plaintiff.

        14.      Plaintiff’s NARUTO Trademarks qualify as famous marks as used in 15 U.S.C.

 §1125 (c)(1) and have been continuously used and never abandoned.

        15.      Plaintiff has expended substantial time, money and other resources in developing,

advertising and otherwise promoting its Trademarks.           As a result, products bearing the

NARUTO Trademarks are widely recognized and exclusively associated by consumers, the

public and the trade as being products sourced from Plaintiff.

              Legitimate Product                           Infringing Product




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                                        THE DEFENDANTS

       16.     Defendants are individuals and business entities who, upon information and

belief, primarily reside in the People’s Republic of China or other foreign jurisdictions.



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Defendants conduct business throughout the United States, including Illinois and within this

Judicial District, through the operation of the fully interactive commercial websites and online

marketplaces operating under the Defendants’ Internet Stores. Each Defendant targets the

United States, including Illinois, and has offered to sell and, on information and belief, has sold

and continues to sell counterfeit products to consumers within the United States, including

Illinois and this Judicial District.

                           THE DEFENDANTS’ UNLAWFUL CONDUCT

        17.     The success of Plaintiff’s brand has resulted in its counterfeiting. Plaintiff has

identified numerous online marketplace accounts linked to fully interactive websites and

marketplace listings on platforms such as iOffer, Amazon, Alipay and Walmart, including the

Defendants’ Internet Stores, which were offering for sale, selling, and importing counterfeit

products to consumers in this Judicial District and throughout the United States. Defendants

have persisted in creating the Defendants’ Internet Stores. Internet websites like the Defendant

Internet Stores are estimated to receive tens of millions of visits per year and generate over $135

billion in annual online sales. According to an intellectual property rights seizures statistics

report issued by Homeland Security, the manufacturer’s suggested retail price (MSRP) of goods

seized by the U.S. government in 2021 was over $3.3 billion, up from $1.3 billion in 2020.

According to a 2021 study on the impact of the sale of fraudulent goods entitled “The

Counterfeit Silk Road - Impact of Counterfeit Consumer Products Smuggled into the United

States” (the 2021 study), Internet websites like the Defendant Internet Stores are also estimated

to contribute to over 653,000 lost jobs for legitimate businesses and broader economic damages

such as lost wages in an amount over $36 billion and a loss of federal and state tax revenue of

over $13.5 billion every year.



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       18.     Upon information and belief, Defendants facilitate sales by designing the

Defendants’ Internet Stores so that they appear to unknowing consumers to be authorized online

retailers, outlet stores, or wholesalers selling genuine products.      Many of the Defendants’

Internet Stores look sophisticated and accept payment in U.S. dollars via credit cards and

Amazon, Alipay and Walmart. Defendants’ Internet Stores often include images and design

elements that make it very difficult for consumers to distinguish such counterfeit sites from an

authorized website. Defendants further perpetuate the illusion of legitimacy by offering “live

24/7” customer service and using indicia of authenticity and security that consumers have come

to associate with authorized retailers, including the McAfee® Security, VeriSign®, Visa®,

MasterCard® and PayPal® logos.

       19.     Plaintiff has not licensed nor authorized Defendants to use its Trademarks and

none of the Defendants are authorized retailers of its genuine products.

       20.     Upon information and belief, Defendants deceive unknowing consumers by using

the Plaintiff’s NARUTO Trademarks without authorization within the content, text, and/or meta

tags of its websites to attract various search engines looking for websites relevant to consumer

searches for Plaintiff’s products. Additionally, upon information and belief, Defendants use other

unauthorized search engine optimization (SEO) tactics and social media spamming so that the

Defendants’ Internet Stores listings show up at or near the top of relevant search results and

misdirect consumers searching for Plaintiff’s genuine products.       Further, Defendants utilize

similar illegitimate SEO tactics to propel new online marketplace accounts to the top of search

results after others are shut down.

       21.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their massive network of Internet Stores. For



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example, many of Defendants’ names and physical addresses used to register the online

marketplace accounts are incomplete, contain randomly typed letters or fail to include cities or

states. Other online marketplace accounts use privacy services that conceal the owners’ identity

and contact information. Upon information and belief, some of the tactics used by the Defendants

to conceal their identities and the scope and interworking of their counterfeit operations to avoid

being shut down include regularly creating new websites and online marketplace accounts on

various platforms using the identities listed in Schedule A to the Complaint, as well as other

fictitious names and addresses.

       22.     Even though Defendants operate under multiple fictitious names, there are numerous

similarities among the Defendants’ Internet Stores. For example, some of the Defendants’ websites

have identical layouts, even though different aliases were used to register the respective online

marketplace accounts. In addition, the counterfeit products for sale in the Defendants’ Internet

Stores bear similarities and indicia of being related to one another, suggesting that the counterfeit

products were manufactured by a common source and that Defendants are interrelated. The

Defendants’ Internet Stores also include other notable common features, including use of the same

online marketplace account registration patterns, unique shopping cart platforms, similar payment

and check-out methods, meta data, illegitimate SEO tactics, HTML user-defined variables,

domain redirection, lack of contact information, identically or similarly priced items and volume

sales discounts, similar hosting services, similar name servers and the use of the same text and

images.

       23.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, when counterfeiters like Defendants receive



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notice of a lawsuit they will often register new online marketplace accounts under new aliases and

move website hosting to rogue servers located outside the United States once notice of a lawsuit is

received. Rogue servers are notorious for ignoring take down demands sent by brand owners.

Counterfeiters will also ship products in small quantities via international mail to minimize

detection by U.S. Customs and Border Protection. The 2021 study indicated that the Internet has

fueled explosive growth in the number of small packages of counterfeit goods shipped through the

mail and express carriers. This growth closely correlates to the growth of the ecommerce industry

which now make up 15.4% of all retail transactions as reported by the Census Bureau of the U.S.

Department of Commerce.

       24.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant and Amazon, Alipay and Walmart accounts behind layers of payment gateways so that

they can continue to operate in spite of Plaintiff’s enforcement efforts. Upon information and

belief, Defendants maintain off-shore bank accounts and regularly move funds from their Amazon,

Alipay and Walmart accounts to off-shore bank accounts outside the jurisdiction of this Court.

Indeed, analysis of Amazon, Alipay and Walmart transaction logs from prior similar cases indicate

that offshore counterfeiters regularly move funds from U.S.-based Amazon, Alipay and Walmart

accounts to China-based bank accounts outside the jurisdiction of this Court.

       25.     On information and belief, Defendants are in constant communication with each

other and regularly participate in QQ.com chat rooms and through websites such as

sellerdefense.cn, kaidianyo.com and kuajingvs.com regarding tactics for operating multiple

accounts, evading detection, pending litigation and potential new lawsuits.

       26.     Defendants, without any authorization or license from Plaintiff, have knowingly

and willfully used and continue to use Plaintiff’s NARUTO Trademarks in connection with the



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advertisement, distribution, offering for sale and sale of counterfeit products into the United

States and Illinois over the Internet. Each Defendants’ Internet Stores offer shipping to the

United States, including Illinois and, on information and belief, each Defendant has offered to

sell counterfeit products into the United States, including Illinois.

       27.     Defendants’ use of Plaintiff’s NARUTO Trademarks in connection with the

advertising, distribution, offering for sale and sale of counterfeit products, including the sale of

counterfeit products into Illinois, is likely to cause and has caused confusion, mistake, and

deception by and among consumers and is irreparably harming Plaintiff.

                                             COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       28. Plaintiff repeats and incorporates by reference herein the allegations contained

in paragraphs 1-27 of this Complaint.

       29.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of Plaintiff’s Trademarks in connection

with the sale, offering for sale, distribution and/or advertising of infringing goods. Plaintiff’s

NARUTO Trademarks are highly distinctive. Consumers have come to expect the highest quality

from Plaintiff’s products provided under its Trademarks.

       30.     Defendants have sold, offered to sell, marketed, distributed and advertised, and

are still selling, offering to sell, marketing, distributing and advertising products in connection

with Plaintiff’s NARUTO Trademarks without Plaintiff’s permission.

       31.     Plaintiff TV TOKYO licenses the use of the NARUTO Trademarks (Exhibit 1).

The United States Registrations for Plaintiff’s NARUTO Trademarks are in full force and effect.

Upon information and belief, Defendants have knowledge of Plaintiff’s rights in their



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Trademarks and are willfully infringing and intentionally using Plaintiff’s NARUTO Trademarks

on counterfeit products. Defendants’ willful, intentional, and unauthorized use of Plaintiff’s

NARUTO Trademarks are likely to cause and is causing confusion, mistake, and deception as to

the origin and quality of the counterfeit products among the general public.

        32.     Defendants’     activities   constitute   willful   trademark   infringement     and

counterfeiting under 15 U.S.C. §§ 1114, 1117.

        33.     The injuries and damages sustained by Plaintiff have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell and sale of counterfeit Plaintiff’s products.

        34.     Plaintiff has no adequate remedy at law, and, if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to their reputation and the goodwill of

its well-known Trademarks.

                                   COUNT II
                  FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

        35.     Plaintiff repeats and incorporates by reference herein the allegations contained in

paragraphs 1-34 of this Complaint.

        36.     Defendants’ promotion, marketing, offering for sale and sale of counterfeit products

have created and are creating a likelihood of confusion, mistake and deception among the general

public as to the affiliation, connection or association with Plaintiff or the origin, sponsorship or

approval of Defendants’ counterfeit products by Plaintiff.

        37.     By using Plaintiff’s NARUTO Trademarks in connection with the sale of

counterfeit products, Defendants create a false designation of origin and a misleading

representation of fact as to the origin and sponsorship of the counterfeit products.




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         38.    Defendants’ conduct constitutes willful false designation of origin and

misrepresentation of fact as to the origin and/or sponsorship of the counterfeit products to the

general public under 15 U.S.C. §§ 1114, 1125.

         39.    Plaintiff has no adequate remedy at law, and, if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its

brand.

                                 COUNT III
                     COPYRIGHT INFRINGEMENT (17 U.S.C. § 501(a))

         40.    Plaintiff repeats and incorporates by reference herein the allegations contained in

         paragraphs 1-39 of this Complaint.

         41.    Plaintiff’s products have significant value and have been produced and created at

considerable expense.

         42.    Plaintiff, at all relevant times, has been the holder of the pertinent exclusive rights

infringed by Defendants, as alleged hereunder, including but not limited to the copyrighted

products, including derivative works. Plaintiff’s works are the subject of valid Certificate of

Copyright Registrations issued by the Register of Copyrights. (Group Exhibit 2). The

copyrighted works include copyright notices advising the viewer that Plaintiff’s products are

protected by the Copyright Laws.

         43.    Upon information and belief, Defendants had access to the works through

Plaintiff’s normal business activities. After accessing Plaintiff’s works, Defendants wrongfully

created copies of the copyrighted products without Plaintiff’s consent and engaged in acts of

widespread infringement.




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        44.     Plaintiff is informed and upon belief thereon alleges that Defendants further

infringed Plaintiff’s Copyrights by making or causing to be made derivative works from

Plaintiff’s products by producing and distributing reproductions without Plaintiff’s permission.

        45.     Plaintiff’s products include a copyright notice advising the general public that

Plaintiff’s products are protected by Copyright Laws.

        46.     Defendants, without the permission or consent of Plaintiff, have, and continue to

sell online infringing outright copies and derivative works of Plaintiff’s copyrighted products.

Defendants have violated Plaintiff’s exclusive rights of reproduction and distribution.

Defendants’ actions constitute infringement of Plaintiff’s exclusive rights protected under the

Copyright Act (17 U.S.C. §101 et seq.).

        47.     As a direct result of the acts of copyright infringement, Defendants have obtained

direct and indirect profits they would not otherwise have realized but for their infringement of the

copyrighted products. Plaintiff is entitled to disgorgement of Defendants’ profits directly and

indirectly attributable to their infringement of Plaintiff’s products.

        48.     The foregoing acts of infringement constitute a collective enterprise of shared,

overlapping facts and have been willful, intentional, and in disregard of and with indifference to

the rights of Plaintiff.

        49.     As a result of Defendants infringement of Plaintiff’s exclusive rights under its

Copyrights, Plaintiff is entitled to relief pursuant to 17 U.S.C. §504 and to its attorneys’ fees and

costs pursuant to 17 U.S.C. §505.

        50.     The conduct of Defendants is causing and, unless enjoined and restrained by this

Court, will continue to cause Plaintiff irreparable injury that cannot be compensated fully or

monetized. Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C. §§502 and 503,



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Plaintiff is entitled to injunctive relief prohibiting Defendants from further infringing Plaintiff’s

copyright and ordering Defendants to destroy all unauthorized copies. Defendants’ copies, plates,

and other embodiment of Plaintiff’s products from which copies can be reproduced should be

impounded and forfeited to Plaintiff as instruments of infringement, and all infringing copies

created by Defendants should be impounded and forfeited to Plaintiff, under 17 U.S.C. §503.

                               COUNT IV
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                         (815 ILCS § 510/1, et seq.)

        51.     Plaintiff repeats and incorporates by reference herein the allegations contained in

paragraphs 1-50 of this Complaint.

        52.     Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their counterfeit products as those of Plaintiff, causing likelihood of confusion

and/or misunderstanding as to the source of its goods, causing likelihood of confusion and/or

misunderstanding as to an affiliation, connection or association with genuine products,

representing that their products have Plaintiff’s approval when they do not and engaging in other

conduct which creates likelihood of confusion or misunderstanding among the public.

        53.     The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510/1 et seq.

        54.     Plaintiff has no adequate remedy at law, and Defendants’ conduct has caused

Plaintiff to suffer damage to its reputation and goodwill. Unless enjoined by the Court, Plaintiff

will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.

                                        PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants and each of them as follows:




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       1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys, and

all persons acting for, with, by, through, under, or in active concert with them be temporarily,

preliminarily, and permanently enjoined and restrained from:

       a.   using the NARUTO Trademarks and Copyrights or any reproductions, counterfeit

            copies, derivatives, or colorable imitations thereof in any manner in connection with

            the distribution, marketing, advertising, offering for sale, or sale of any product that is

            not a genuine NARUTO product or is not authorized by Plaintiff to be sold in

            connection with the NARUTO Trademarks and Copyrights;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

            NARUTO product or any other product produced by Plaintiff that is not Plaintiff’s or

            is not produced under the authorization, control, or supervision of Plaintiff and

            approved by Plaintiff for sale under its Trademarks;

       c. committing any acts calculated to cause consumers to believe that Defendants’

            counterfeit products are those sold under the authorization, control, or supervision of

            Plaintiff, or are sponsored by, approved by, or otherwise connected with Plaintiff;

       d. further infringing Plaintiff’s NARUTO Trademarks and Copyrights and damaging

            Plaintiff’s reputation and goodwill;

       e. otherwise competing unfairly with Plaintiff in any manner;

       f. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

            distributing, returning, or otherwise disposing of, in any manner, products or inventory

            not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered

            for sale including Plaintiff’s NARUTO Trademarks, or any reproductions, counterfeit

            copies, or colorable imitations thereof; and


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        g. using, linking to, transferring, selling, exercising control over, or otherwise owning the

            Online Marketplace Accounts or any online marketplace account that is being used to

            sell or is the means by which Defendants could continue to sell counterfeit products;

        2) That Defendants, within fourteen (14) days after service of judgment with notice of entry

thereof upon them, be required to file with the Court and serve upon Plaintiff a written report under

oath setting forth in detail the manner and form in which Defendants have complied with paragraph

1, a through f, above;

        3) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces such as iOffer, Amazon,

Alipay and Walmart, social media platforms, Facebook, YouTube, LinkedIn, Twitter, Internet

search engines such as Google, Bing and Yahoo, and web hosts for the Defendants’ Online

Marketplace Accounts, shall:

        a. disable and cease providing services for any accounts through which Defendants

            engage in the sale of counterfeit products using Plaintiff’s NARUTO Trademarks and

            Copyrights including any accounts associated with the Defendants listed in Schedule

            A; and

        b. disable and cease displaying any advertisements used by or associated with

            Defendants in connection with the sale of counterfeit products using Plaintiff’s

            NARUTO Trademarks and Copyrights ;

        c. take all steps necessary to prevent links to the Defendant Internet Stores identified in

            Schedule A from displaying in search results, including, but not limited to, removing

            links to the Defendant Internet Stores from any search index;




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       4) That Defendants account for and pay to Plaintiff all profits realized by Defendants by

reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for

infringement of Plaintiff’s NARUTO Trademarks are increased by a sum not exceeding three

times the amount thereof as provided by 15 U.S.C. § 1117;
        5)    In the alternative, Plaintiff is awarded statutory damages pursuant to 15 U.S.C. §

1117(c) of not less than $1,000 and not more than $2,000,000 for each and every use of their

Trademarks;

       6)      That Defendants account for and pay to Plaintiff all profits realized by Defendants

by reason of Defendants’ unlawful acts herein alleged as provided by 17 U.S.C. § 504(b);

       7)      In the alternative, that Plaintiff be awarded statutory damages pursuant to 17

U.S.C. § 504(c) of not less than $200 and not more than $150,000 for each and every use of the

NARUTO Copyrights;


       8) That Plaintiff is awarded its reasonable attorneys’ fees and costs; and

       9) Award any and all other relief that this Court deems just and proper.


Dated: June 20, 2024                 Respectfully submitted,


                                     By:     /s/ Michael A. Hierl
                                             Michael A. Hierl (Bar No. 3128021)
                                             William B. Kalbac (Bar No. 6301771)
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                                             TV TOKYO CORPORATION


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                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing

Complaint was filed electronically with the Clerk of the Court and served on all counsel of

record and interested parties via the CM/ECF system on June 20, 2024.



                                                     s/Michael A. Hierl




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